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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :      CRIMINAL NO. 22-cr-200 (APM)
              v.                            :
                                            :
PETER K. NAVARRO,                           :
                                            :
              Defendant.

                                 Government’s Witness List

       The Government’s potential witnesses for its case-in-chief are below. The Government

respectfully reserves the right to call additional witnesses as necessary in any rebuttal to the

Defendant’s case-in-chief.

       1.     Kristin Amerling, Director and General Counsel of the Select Committee to
              Investigate the January 6th Attack on the United States Capitol (“the Committee”)

       2.     Marc Harris, Senior Investigative Counsel to the Committee

       3.     Daniel George, Senior Investigative Counsel to the Committee
